                                                          Case 1:24-cv-00720-PLM-SJB          ECF No. 47, PageID.657          Filed 11/22/24     Page 1 of 2


                                                                                          UNITED STATES DISTRICT COURT
                                                                                          WESTERN DISTRICT OF MICHIGAN
                                                                                               SOUTHERN DIVISION
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                                                          REPUBLICAN NATIONAL COMMITTEE,
                                                          DONALD J. TRUMP FOR PRESIDENT 2024, INC., CASE NO. 1:24−cv−00720−PLM−SJB
                                                          MICHIGAN REPUBLICAN PARTY, and RYAN
                                                          KIDD,
                                                                                                    HON. PAUL L. MALONEY
                                                                Plaintiffs,
                                                                                                    HON. SALLY J. BERENS
                                                          v

                                                          GRETCHEN WHITMER, in her official capacity as
                                                          Governor of Michigan, JOCELYN BENSON, in her
                                                          official capacity as Michigan Secretary of State; and
                                                          JONATHAN BRATER, in his official capacity as
                                                          Director of the Michigan Bureau of Elections, U.S.
                                                          SMALL BUSINESS ADMINISTRATION, ISABEL
                                                          GUZMAN, in her official capacity as Administrator
                                                          of the Small Business Administration,
                                                          DEPARTMENT OF VETERANS AFFAIRS, and,
                                                          DENIS McDONOUGH, in his official capacity as
                                                          Secretary of Veterans Affairs,

                                                                 Defendants.


                                                                                            Notice of Voluntary Dismissal
SMITH HAUGHEY RICE & ROEGGE, A Professional Corporation




                                                                 Plaintiffs, the Republican National Committee (“The RNC”), Donald J. Trump for President 2024,

                                                          Inc. (“Trump Campaign”), the Michigan Republican Party (“MRP”), and Ryan Kidd (“Plaintiffs”), by and

                                                          through their attorneys, Smith Haughey Rice & Roegge, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

                                                          voluntarily dismiss the above-titled action. This Notice is being filed before service by any Defendant of

                                                          either an Answer or a Motion for Summary Judgment.




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Date: November 22, 2024                By: /s/ Jonathan B. Koch
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